     Case 9:19-cv-80457-RS Document 5 Entered on FLSD Docket 04/17/2019 Page 1 of 2
CGFD71 (12/1/15)
                                  UNITED STATES BANKRUPTCY COURT
                                         Southern District of Florida
                                                            www.flsb.uscourts.gov

In re: Mukamal v. The National Christian Foundation, Inc.             Adversary Case Number: 11−02940−EPK
                                                                      (Related Bankruptcy Case Number: 09−36379−EPK )
                                                                      County of Residence or Place of Business: West Palm Beach
                                                                      U.S. District Court Case Number: 9:19−80457−RLR


                          Supplemental TRANSMITTAL TO DISTRICT COURT
            Appeal pursuant to 28 U.S.C. § 158, Notice of Appeal and Statement of Election filed on 4/16/2019
            Motion for Leave to Appeal (copy of appeal attached)
            Request to Expedite Appeal attached.
            Motion to Withdraw Reference pursuant to Local Rule 5011−1(C):

                             Contested          Uncontested
            Withdrawal of Reference granted by U.S. District Court
            Report and Recommendation (Motion to Withdraw Reference)


                             The Party or Parties Included in the Record to District Court:

         Appellant/Movant: The National Christian       Attorney: David J Myers             Attorney: Leanne McKnight
         Foundation, Inc.                                                                   Prendergast
                                                        1200 Abernathy Rd #1700, Bldg       12620 Beach Blvd., Ste 3 #126
                                                        600
                                                        Atlanta, GA 30328                   Jacksonville, FL 32246

         Appellee/Respondent: Barry Mukamal             Attorney: Michael S Budwick         Attorney: James C. Moon
                                                        200 S Biscayne Blvd # 3200          200 S. Biscayne Blvd # 3200
                                                        Miami, FL 33131                     Miami, FL 33131


         Title and Date of Order Appealed, if applicable: Order on Competing Motions for Summary Judgment as to Wich State
         Law Applies to Fraudulent Transfer Claims and Final Judgment

         Entered on Docket Date: 12/10/14 and 3/20/19                 Docket Number: 100 and 299



            Designation in Appeal (See Attached)
            Designation in Cross Appeal (See Attached)
            Copy of Docket
            Exhibits:
            Copies of Transcript(s) of Hearing(s) on:

            Respondent's Answer and/or Movant's Reply
            Other: Cross Appeal and other atty for Appelant: Bradley S Shraiberg, 2385 NW Executive Center Dr. #300,
          Boca Raton, FL 33431 other atty for respontent's: Peter D. Russin, 200 S Biscayne Blvd #3200, Miami, FL 33131,
          and Jessica L Wasserstrom, 200 S Bicayne Blvd #3200, Miami, FL 33131


Dated:4/17/19                                                         CLERK OF COURT
                                                                      By: Conce Perusso
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                                       Deputy Clerk (561) 514−4100
